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                                   STATEMENT OF FACTS


         On January 6, 2021, your affiant, Ronald E. Miller, was on duty and performing my official
duties as a Special Agent. Specifically, I am assigned to FBI's Washington Field Office's securities
fraud squad, which has investigative responsibility for economic crimes. I have also been assigned
to the FBI's Minneapolis Field Office and to the FBI Headquarters' Criminal Investigative
Division. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of a violation of Federal criminal
laws. The facts and information contained in this affidavit are based upon my personal knowledge
as well as the observations of other agents involved in this investigation. All observations not
personally made by me were relayed to me by the individuals who made them or were conveyed
to me by my review of records, documents, and other physical evidence obtained during the course
of this investigation.

       The U.S. Capitol is secured 24 hours a day by the U.S. Capitol Police. Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
Capitol Police. Only authorized people with appropriate identification are allowed access inside
the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to
members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the U.S. Capitol to certify the vote count of the Electoral College of the
2020 Presidential Election, which had taken place on November 3, 2020. The joint session began
at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and the U.S. Capitol Police were present and attempting to keep the crowd away
from the U.S. Capitol building and the proceedings underway inside.

        At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the U.S. Capitol; however, shortly
after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

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President Pence remained in the U.S. Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 11, 2021, Federal law enforcement officers in Philadelphia, PA received a
public tip suggesting that JAMES DOUGLAS RAHM illegally entered the U.S. Capitol on January
6, 2021. This individual, hereinafter Individual 1, advised law enforcement that Individual 1 was
Facebook            friends          with           JAMES           DOUGLAS              RAHM.

       On or around January 8, 2021, Individual 1 was made aware that JAMES DOUGLAS
RAHM boasted to a group of close associates that he illegally entered the U.S. Capitol on January
6, 2021. Individual 1 was also in possession of a video, within which JAMES DOUGLAS RAHM
boasted to this group of individuals, that he filmed while inside the U.S. Capitol.

       On or around January 8, 2021, Individual 1 visited JAMES DOUGLAS RAHM’s
Facebook page and saw multiple posts, to include photographs and videos, of JAMES DOUGLAS
RAHM’s time inside the U.S. Capitol on January 6, 2021. Individual 1 returned to JAMES
DOUGLAS RAHM’s Facebook page a day or two later, and noticed that most of the Facebook
posts on that Facebook page concerning the January 6, 2021 U.S. Capitol riot, had been deleted.

        Individual 1 was able to take a screenshot of one Facebook post in which another Facebook
user asked JAMES DOUGLAS RAHM “Doug are you okay? Are you safe?” JAMES DOUGLAS
RAHM responded “…riot shields and pepper spray never hurt anyone did they? Home alive.
History made. I walked through Pelosi’s office I should have sh-- on her chair. [followed by 3
laughing emojis].”




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       On or around January 9, 2021, Individual 1 returned to JAMES DOUGLAS RAHM’s
Facebook page and noticed that most recent posts including those from January 6, 2021 had been
deleted. On January 11, Individual 1 contacted law enforcement and provided the video JAMES
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DOUGLAS RAHM had purportedly filmed from inside the U.S. Capitol on January 6, 2021, as
well as the Facebook screenshot Individual 1 had captured. The video did not capture JAMES
DOUGLAS RAHM’s face, but did capture a voice and showed the interior of the U.S. Capitol
building rotunda.

       Prior to initiating this investigation, law enforcement officers on or around January 11,
2021, took screen captures of the Facebook account belonging to JAMES DOUGLAS RAHM.
This Facebook account matched that which Individual 1 knew to belong to JAMES DOUGLAS
RAHM. Further investigation revealed that multiple other individuals also knew this account to
belong to JAMES DOUGLAS RAHM. These screen captures revealed that JAMES DOUGLAS
RAHM, who resides in Atlantic City, NJ, was in Washington, D.C. on the evening of January 5,
2021 for the purpose of attending a political rally on January 6, 2021. The Facebook posts captured
in these screen captures have all since been deleted. A comparison of JAMES DOUGLAS
RAHM’s driver license photo and a photograph from the Facebook account leads your affiant to
believe that this account belongs to JAMES DOUGLAS RAHM.

        On January 15, 2021, law enforcement officers interviewed Individual 1. Individual 1 said
Individual 1 knew JAMES DOUGLAS RAHM for over 10 years and believed with high certainty
that the voice in the video JAMES DOUGLAS RAHM purported to have filmed from inside the
U.S. Capitol, belonged to JAMES DOUGLAS RAHM. In this video, the captioned individual said
the following: “We’re in. We’re taking our f---ing house back. We’re here. Time to find some
brass and kick some frickin’ ass.”

         In another tip received by FBI on January 11, 2021, an individual, hereinafter Individual
2, said the following:

       “Doug Rahm posted photos and videos of him on Facebook breaking into the
       capitol building on January 6th. He has since taken down most of the posts,
       however, I was able to get the one video he posted in a comment on Facebook of
       him inside. He also replied, Pissed in her office (referring to Nancy Pelosi) when
       someone commented on his post Get back inside. Give Pelosi a kiss.”

Individual 2 submitted a photograph of JAMES DOUGLAS RAHM taken from Facebook to the
FBI. JAMES DOUGLAS RAHM is seen wearing a grey Trump knitted winter hat, a dark hooded
sweatshirt inside of a green and black Harley Davidson motorcycle jacket, blue jeans and tan work
shoes. This photograph was shown to Individual 1, which Individual 1 positively identified as
JAMES DOUGLAS RAHM. Individual 2 noted for law enforcement that this photo, copies below,
was included in one of the Facebook posts made by JAMES DOUGLAS RAHM about his
presence in Washington, D.C. on January 6, 2021.




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       In another Facebook post provided by Individual 2, another Facebook user asked in
response to a photo of JAMES DOUGLAS RAHM with swollen eyes titled “Pepper Spray,”
“were you there Doug?” JAMES DOUGLAS RAHM responded “yes do not believe the media
there were no anarchist no antifa just patriots trying to take our country back. Yes I was there the
pepper spray is just wearing off…”




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        In a continuation of the above post provided by Individual 2, a different Facebook user
said “Get back inside. Give Pelosi a kiss.” JAMES DOUGLAS RAHM responded “Pissed in her
office.” [followed by a strong man emoji].

        On January 22, 2021, law enforcement officers interviewed Individual 2, who provided
law enforcement a video screen capture which recorded the entirety of a video which JAMES
DOUGLAS RAHM recorded from inside the U.S. Capitol on January 6, 2021. This video was
also deleted from Facebook along with other posts.

       On January 22, 2021, law enforcement officers uncovered an additional public tip
submitted to the FBI on January 10, 2021, by an anonymous individual, hereinafter Individual 3.

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Individual 3 provided a Facebook post made by JAMES DOUGLAS RAHM. In this post (which
seems to have been taken prior to JAMES DOUGLAS RAHM entering the U.S. Capitol on
January 6, 2021), JAMES DOUGLAS RAHM said, “They’re in there counting the electoral
votes we have the building surrounded we’re ready to make a breach and take our Capitol back.”




        In another Facebook post provided by Individual 3, JAMES DOUGLAS RAHM said
“From my experience it was Patriot’s [sic] trying to take our house back. Nobody burned anything,
nobody broke anything except for a door and the window. All the papers running all over in the
offices we’re done just for news cameras we destroyed nothing we didn’t knock over one piece of
paper only the front door. We the people tried to take our house back now they will blame it on
Trump. Disgusting anti-Americans.”
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         On January 22, 2021, law enforcement officers reviewed raw closed-circuit television
footage of inside the U.S. Capitol taken on January 6, 2021. Law enforcement officers positively
identified JAMES DOUGLAS RAHM inside the U.S. Capitol and exiting the building at
approximately 2:52 p.m. through the Rotunda exit doors. The identification was based on his
aforementioned distinct clothing, to include the grey knitted winter hat, a dark hooded sweatshirt
inside of a green and black Harley Davidson motorcycle jacket, blue jeans and tan work shoes, as
well as facial features, which matched the photograph of JAMES DOUGLAS RAHM outside the
illegal entry into the U.S. Capitol on January 6, 2021. Photographs of the individual identified as
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JAMES DOUGLAS RAHM inside of the U.S. Capitol were shown to Individual 1. Individual 1
positively identified JAMES DOUGLAS RAHM in the photographs, and mentioned the standing
stance of the individual in the photograph was similar to that of JAMES DOUGLAS RAHM,
although Individual 1 said Individual 1 could not be fully certain.




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       Based on the foregoing, your affiant submits there is probable cause to believe that JAMES
DOUGLAS RAHM violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence,
or impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional
proceedings are official proceedings.

        Your affiant submits that there is probable cause to believe that JAMES DOUGLAS
RAHM violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that JAMES DOUGLAS
RAHM violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; (G) parade, demonstrate, or picket in any of the Capitol
Buildings.



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                                                  _________________________________
                                                  Special Agent Ronald E. Miller
                                                  Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 4th day of January 2021.
                                                                          G. Michael Harvey
                                                                          2021.02.04 17:08:56
                                                                          -05'00'
                                                     ___________________________________
                                                     G. Michael Harvey
                                                     U.S. MAGISTRATE JUDGE




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